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Case 3:15-cv-00499-MMD-WGC Document 81 Filed 06/30/17 Page 1 of 29 \

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5.) NAME OF INDIVIDUAL TO CONTACT: “Ms wavs (ha he ate af Mi

 

6.) REQUEST: (PRINT BELOW) MAM, J am in 3-862 T baer » Leng On Linh

 
 

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JOSEPH L. MIZZONI,
Plaintiff,

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NDOC WARDEN MCcDANIEL, et. al.,

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Defendants

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Plaintiff Joseph L. Mizzoni filed his Motion Seeking Permission to Object to Joint

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Conference Report and Obtain Court Order Medical and Video CD-Rom and Reports on Incidents of

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all Excessive Force. Defendants have objected on the basis of the administrative regulations which

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govern Ely State Prison.

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Plaintiff's motion to object to the Joint Case Conference Report is denied. Each party

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is required to set forth its list of exhibits and witnesses in the Joint Case Conference Report, whether

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or not the opposing side agrees. The decision of whether the exhibits will be admitted at trial and

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whether the witnesses will be allowed to testify is reserved for either pretrial motions, pretrial

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conferences or for trial, and is not appropriate at this time.

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This court will not interfere with the administration or the administrative regulations

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governing Ely State Prison and order the production to plaintiff of items not allowed under Prison

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regulations. However, the items that plaintiff has asked to be produced are relevant or can lead to

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relevant material in this case. Plaintiff has asked for the release of his medical records to this court

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for trial. Therefore, defendants are ordered to produce to this court for in camera inspection:

1. All medical records pertaining to the injuries and treatment of plaintiff resulting
from the incidents of March 5, 2007 and November 6, 2007;

2. Any and all recordings of the incidents of March 5, 2007 and November 6, 2007
whether on CD-ROM or in any other form; and

3. Any recording of the disciplinary hearing held on April 3, 2007.

IT iS SO ORDERED.

Dated this 16th day of February, 2010.

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MIRIAM SHEARING
SENIOR JUDGE

 
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The trial will start on November 9, 2010 and continue Tuesdays through Fridays until
concluded or by February 19, 2010.
IT 1S SO ORDERED.
Dated this 16th day of February, 2010.

MIRIAM SHEARING C s

SENIOR JUDGE

 

 
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6 IN THE SEVENTH JUDICIAL DISTRICT COURT OF THE STATE OF
7 NEVADA, IN AND FOR THE COUNTY OF WHITE PINE
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C2 < 10 Petitioner, ORDER GRANTING IN PART AND
a Oy as 44 DENYING IN PART PETITION FOR WRIT
yeecus vs. OF HABEAS CORPUS
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= igize WARDEN, MR. McDANIEL,
=z wesse 13
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ze i 14 Respondent. )
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° 16 FACTUAL AND PROCEDURAL HISTORY
17 On June 30, 2008 Joseph L. Mizzoni\(Petitioner), an inmate at Ely State Prison, filed a
18 Petition for Writ of Habeas Corpus. Petitioner claims his 14th Amendment right to due process
19
was violated in four incidents occurring between March 5, 2007 and November 6, 2007, and asks
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04 the Court to expunge the disciplinary sanctions from his record. A Motion to Dismiss and
29 || Answer was filed on August 15, 2008. The Court has reviewed the file and finds that no further
23 || briefing or oral argument is necessary.
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24 | A. Incident One
25 According to the Notice of Charges, on March 5, 2007, Petitioner was present at an
interview with Correctional Caseworker Specialist Trainee Large wherein Petitioner became
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WHITE PINE, LINCOLN AND EUREKA COUNTIES

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agitated and verbally abusive. After the meeting, Petitioner threw himself onto one of the
officers escorting him back to his cell and was forcibly restrained. Petitioner was restrained on
the floor and C.E.R.T. officers were called to escort Petitioner back to his cell. Petitioner does
not dispute these facts, however, the report states that medical staff was called and Petitioner
States he was denied medical attention and excessive force was used to restrain him.

Petitioner was charged with MJ3 (battery), MJ28 (organizing, encouraging or
participating in a work stoppage or other disruptive offense), and G18 (delaying, hindering or
interfering with a correctional employee in the performance of his duties). At the Disciplinary
Hearing Petitioner was found guilty of all three charges and was sanctioned and forfeited 180
days credit, received 365 days of disciplinary segregation, and lost 30 days of canteen privileges.
B. Incident Two

According to the Notice of Charges (NOC), on August 20, 2007, after being escorted
back to his cell, and while Petitioner’s restraints were being removed, Petitioner spat through the
food slot at Officers Sommervold and Ator, hitting both of them. Petitioner was charged with
MJ3 (battery), and MJ28 (organizing, encouraging or participating in a work stoppage or other
disruptive offense). The facts are disputed as to whether Petitioner refused to attend the
Disciplinary Hearing or was not permitted to attend. Petitioner also disputes the sanctions
charges because he requested and was denied the right to put on evidence in his defense. At the
hearing, he was found guilty and sanctioned 12 days of disciplinary detention, 365 days of
disciplinary segregation and forfeited 149 days of statutory time.

C. Incident Three

According to the NOC, on September 30, 2007, Petitioner refused his meal tray and

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became agitated. He propelled an unknown liquid onto the Tier and his water was shut off as a

 

 

 

 

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2 || ftesult. While the officer cleaned up the liquid, Petitioner again propelled an unknown liquid,
3 || striking the officer. Petitioner does not dispute these facts. Petitioner was charged with G18
4 (delaying, hindering or interfering with a correctional employee in the performance of his
5 duties), MJ28 (organizing, encouraging or participating in a work Stoppage or other disruptive
a offense), and MJ40 (propelling). Because of these charges, Petitioner was sanctioned and
forfeited 182 days of credit.
f u g || D. _ Incident Four
: 5 10 According to the NOC, on November 5, 2007, Petitioner became disruptive in the
E 3. : é 11 recreation yard by kicking at the plexi-glass, yelling obscenities at staff and making other
: a : : 12 || statements and gestures. At 12:05am on November 6, 2007, Petitioner complied with orders to
m Jee oy
z j 3° : ‘ 13 be restrained and escorted from the recreation yard. Petitioner complied with orders for a body
E " . search, but became verbally abusive. While being escorted back to his cell from the showers
E 3 16 where the search took place, Petitioner began yelling and twisting away from officers. He also
17 || tried to pull away from officers and was placed on the floor. After being examined by medical
} 18 || staff, Petitioner was returned to his cell where he attempted to pull away from officers trying to
19 || remove his wrist restraints through the food slot. He further yelled at staff, finally complying
20 and the restraints were removed. Petitioner disputes these facts, as he requested videotaped
a" surveillance records be admitted to the hearing.
. Petitioner was charged with G9 (abusive language), G14 (failure to follow rules and
D4 regulations), and MJ25 (threats). The Disciplinary Hearing for these charges was held on
25 || December 5, 2007, where he was found guilty and sanctioned 180 days disciplinary segregation
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and 90 days loss of yard privileges.
DISCUSSION

While prisoners do not leave all their constitutional rights at the prison gate, these rights
are necessarily limited by their lawful incarceration.’ Asa result, Due Process requirements in
the prison setting are lessened.” “The requirements of Due Process are flexible and depend ona
balancing of interests affected by the relevant government action.”* Therefore, “in identifying
the safeguards required by Due Process, the Court has recognized the legitimate institutional
needs of assuring the safety of inmates and prisoners, avoiding burdensome administrative

requirements that might be susceptible to manipulation, and preserving the disciplinary process

as a means of rehabilitation.”

[we proves]

( When a prison disciplinary hearing results in the loss of statutory good time credits, 7
minimal Due Process rights entitle a prisoner to: (1) advance written notice of the charges, (2) a
qualified opportunity to call witnesses and present documentary evidence, (3) a written statement
by the factfinder of evidence relied upon, and (4) a sufficiently impartial factfinder.” In addition,
the disciplinary hearing officer’s decision must be supported by some evidence.® While there are
due process rights applicable to statutory good time, lisciplinary segregation, is a condition of

confinement and does not have an associated liberty interest.’ |

The court will consider these incidents in order:

A. March 5, 2007

 

1 Sandin v. Conner, 515 U.S. 472, 431 (1995).
2 Superintendent v. Hill, 472 U.S. 445, 454-55 (1985).
31d.
41d.
5 Id.; Wolff v. McDonnell, 418 U.S. 539, 563-69 (1974).
6 472 US. at 454,

07 515 U.S. at 431. \satoTN>

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‘ EXHIBIT

Petitioner claims his due process rights were violated because Lt. Jones answered the

 

 

 

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2 || emergency grievance and then later conducted the disciplinary hearing. Neither Petitioner nor
3 || the State has presented a copy of the emergency grievance Petitioner claims to have filed,
4 || however the State does not deny that Lt. Jones investigated the grievance.
S As stated in Wolff, the factfinder is required to be “sufficiently impartial.”* Additionally,
6 AR 707.1(2)(A)(8)(c) states that “[a]ll supervisors involved in the disciplinary process should be
impartial in that they . . . [a]re not also the Preliminary Hearing Officer for the same offense.”
3 9 | Lt. Jones’ signature appears on the NOC as the supervisor on duty for March 5, 2007. He also
: 5 10 || Signed the Summary of Disciplinary Hearing as the Disciplinary Hearing Officer. Because
E : 3 - : é 11 || Respondent does not dispute the role played by Lt. Jones in this incident, acting as both
: 3 : : 12 investigator on the grievance and disciplinary hearing officer, relief should be granted.”
=f 26 . ugust 20, 2007
ze yg 14 _
b 5 Petitioner challenges the sanctions resulting from this incident based on: (1) partiality of
3 16 guards escorting him to the hearing, (2) being denied the ability to present evidence in his
17 || defense at the hearing, and (3) not being provided a copy of the findings of the disciplinary
/ 18 | hearing so that he could file an appeal.
19 1. Partiality of Guards
20 Petitioner challenges these sanctions because one of the guards escorting him to the
a" hearing, Officer Ator, was involved in the incident. Petitioner fails to state why Officer Ator’s
a escort to the disciplinary hearing would violate AR 707.1(2)(A)(8)(c-d). Officer Ator was not
24 | the hearing officer for this offense; Lt. Falge in fact presided over the hearing. Therefore, relief
25 || 8 418 U.S. 571.

9 Id.

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should be denied as to this incident.

1 [Evroewce]
2 2. Right to Present Evidence at Disciplinary Hearing
3 [ As stated in AR 707.1(2)(B)(3)(e)(6), “[i]f the inmate pleads ‘not guilty,’ they shall have |
4 || the opportunity to make a statement and present evidence to the Disciplinary Hearing Officer.”
oH in Wolff, the United States Supreme Court held that an “inmate facing disciplinary proceedings
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ll should be allowed to .. . present documentary evidence in his defense when permitting him to do
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3 So will not be unduly hazardous to institutional safety or correctional goals.”"" Based on Wolff,
Be u 9 Petitioner should have been afforded the opportunity to present the towel as evidence, however,
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F & 40 |} Petitioner cites no law providing him a right to have DNA evidence processed and submitted in a
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buy 52 11 ||, disciplinary proceeding.
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39% é x5 12 As stated in Hill, “the requirements of due process are satisfied if some evidence supports
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e2° z 5 13 the decision by the prison disciplinary board to revoke good time credits.”'' This standard is met
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z” g 14 , . , , ae
5 z when "there [is] some evidence from which the conclusion of the administrative tribunal could
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te 3 16 be deduced ...."'? This need not be accomplished by “examination of the entire record,

independent assessment of the credibility of witnesses, or weighing of the evidence.” Rather,

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the relevant question is whether there is any evidence in the record that could support the

 

 

 

 

19 || conclusion reached by the disciplinary board.”'* While Petitioner was not permitted to present
20 evidence that there was an alternate source of the propelled fluid, the incident happened when
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Petitioner was being returned to his cell and there does not appear to have been any other inmate
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23
10 418 U.S. at 564.
24 11 472 US. at 455.
12 United States ex rel. Vajtauer v. Commissioner of Immigration, 273 U.S. 103, 106 (1927).
25 |} 13472U.S. at 455.
14 Id., at 456.
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in the vicinity. Petitioner does not otherwise show how the towel would have been relevant or

 

 

 

 

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2 || exculpatory. The Court finds that, in relying on the statement of Officer Sommervold, the
3 || disciplinary hearing officer’s decision was based on the some standard of evidence and no relief
4 || should be granted because Petitioner was not allowed to present the towel.
5 3. Copy of Findings of Disciplinary Hearing
ey According to AR 707.1(2)(B)(3)(e)(12)(d), “[a]t the conclusion of the hearing, the inmate
shall receive a written statement of the findings, including the evidence relied upon and the
e: i 9 sanctions imposed.” At the disciplinary hearing held on September 21, 2007, Mizzoni was found
: 5 10 || guilty of the charges but was not given a copy of the findings with which to file an appeal of the
e : 3 - é 11 || ruling. Respondent does not address this in their Answer. According to AR
7 ; g : 12 707.1(2)((B)(3)(e)(14)(a), appeals of Disciplinary Hearings shall be filed within 15 days of the
ci i : : : é 13 | conclusion of the disciplinary hearing. Because Petitioner was denied a copy of the findings
f ° i "4 with which to file an appeal, relief should be granted for this incident.
Fi : . C. October 16, 2007

 

Petitioner, for unstated reasons, was not permitted to attend the disciplinary hearing

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associated with this incident. As a result, he challenges the imposed sanction of 182 days of

 

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credit, 180 days of disciplinary segregation and loss of privileges. The State argues that, as in

 

20 Sandin v. Conner, disciplinary segregation is a condition of confinement and does not have an
21 ; ; ;
associated liberty interest.’” Therefore, Petitioner is not entitled to relief for the 180 days of
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disciplinary segregation. However, Petitioner is entitled to reinstatement of the 182 days of
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24 credit.
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15 515 U.S. 472, 431 (1995).
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1 D. November 6, 2007
2 Petitioner challenges the sanction of 180 disciplinary segregation, 90 days loss of
3 || exercise yard privileges and other privileges relating to this incident because he was not
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4 permitted to review videotape of the incident. Petitioner relies on a New York case, Marquez v.
8 Mann, where the Court held that the failure of the hearing officer to permit an accused to review
6
videotape relied upon during the hearing resulted in petitioner’s loss of “his regulatory right to
7 - ae
8 reply to the evidence against him.”’° Pursuant to this case, Petitioner should have been able to
5 g || View the video tape. However, disciplinary segregation is a condition of confinement and does
C z
o 5 8 10 || not have an associated liberty interest.'” Therefore, Petitioner is not entitled to relief for this
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29 &§
F w ¥ 5 é 1111 incident.
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~ obe<, 12 Good cause appearin
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eB ws8Se 13 wee a: ; ,
VE i zo IT IS HEREBY ORDERED that Petitioner’s Petition for Writ of Habeas Corpus is
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5 c GRANTED IN PART AND DENIED IN PART as follows:
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¢ 3 16 As to Incident One, relief is granted and 180 days of credit are reinstated.

As to Incident Two, relief is granted and 149 days of credit are reinstated.

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As to Incident Three, relief is granted and 182 days of credit reinstated.
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As to Incident Four, no relief granted.

Dated this 24™ day of September 2008. )
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DISTRICT COURT JUDGE

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16 Marquez v. Mann, 192 A.D. 2d 100, 103 (1993 N.Y. App. Div.).
17515 U.S. 472, 431 (1995).

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